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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:

KAMRAN LIAQUAT KURANI,                                   CASE NO. 22-50579-PWB

         Debtor.                                         CHAPTER 7

          AMENDED NOTICE OF RESCHEDULED BANKRUPTCY RULE 2004
                       EXAMINATION OF DEBTOR

         COMES NOW Ascentium Capital LLC (“Ascentium”) and hereby amends its Notice of

 Rescheduled Bankruptcy Rule 2004 Examination of Debtor filed on April 27, 2022 [Doc. 27].

 Ascentium and Debtor have agreed that the Bankruptcy Rule 2004 examination of Debtor will

 now take place on Friday, June 17, 2022, at 10:00 AM, at the law offices of Baker, Donelson,

 Bearman, Caldwell & Berkowitz, P.C., 3414 Peachtree Road, NE, Suite 1500, Monarch Plaza,

 Atlanta, Georgia.


                                                  Submitted by:

                                                  /s/ Tim Colletti
                                                  Tim Colletti
                                                  Georgia Bar No. 972791
                                                  tcolletti@bakerdonelson.com
                                                  Kevin A. Stine
                                                  Georgia Bar No. 682588
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                                                  BAKER, DONELSON, BEARMAN,
                                                  CALDWELL & BERKOWITZ, P.C.
                                                  Suite 1500, Monarch Plaza
                                                  3414 Peachtree Road, N.E.
                                                  Atlanta, Georgia 30326
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                                                  Counsel for Ascentium Capital LLC
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IN RE:

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                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Notice using the
 Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and
 an accompanying link to this document to the following parties who have appeared in this case
 under the Bankruptcy Court’s Electronic Case Filing program:

  Michael R. Rethinger                             S. Gregory Hays
  Law Offices of Michael R. Rethinger, LLC         Hays Financial Consulting, LLC
  1392 McLendon Avenue NE                          Suite 555, 2964 Peachtree Road
  Atlanta, GA 30307                                Atlanta, GA 30305
  michael@rethingerlaw.com                         ghays@haysconsulting.net
  Debtors’ Counsel                                 Chapter 7 Trustee


  Office of the U.S. Trustee                       Walter E. Jones, Esq.
  362 Richard Russell Building                     Balch & Bingham LLP
  75 Ted Turner Drive, SW                          30 Ivan Allen Jr. Blvd, NW, Ste 700
  Atlanta, GA 30303                                Atlanta, GA 30308
  Ustpregion21.at.ecf@usdoj.gov                    wjones@balch.com
                                                   Counsel for Colony Bank




         I further certify that on this day I caused a copy of this document to be served via U.S.
 First Class Mail, with adequate postage prepaid, on the following parties:

 Kamran Liaquat Kurani
 860 Peachtree Street NE, Ste 703
 Atlanta, GA 30308
                                                       /s/ Tim Colletti
                                                       Tim Colletti
                                                       Georgia Bar No. 972791
